Case 17-20769-|<| Doc 16 Filed 04/17/17 Page 1 of 1

Notice to Trustee

 

 

 

Employee SSN: Case No: 17-20769-KL
Employee Name: NZ MOORE
Employer Name: Centene

 

Employer Address: 7700 FORSYTH

 

CLAYTON, MO 63105

Date bankruptcy received: M
Debtor is is not X employed

Debtor Status: Not Employed Status Date: 04/11/2017

Debtor last known address:

 

 

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Signature of Garnishee
Annanda J ones

Printed Name

Payroll Representative
Title

§90-823-6731 4
Telephone Number

 

04/12/2()17
Date

CTE]

 

 

Page 1 of l

